Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 1 of 64

Sat MUAM Cie MU abcolanat-lclelam Comce(-1al aha me Zell axet: 1-1-3

United States Bankruptcy Court for the:

District of Nevada 6

Case number (if known): Chapter you are filing under:
Chapter 7

() Chapter 11

Q) Chapter 12

Q) Chapter 13

08. BANKRUPTCY fees
Maine ASCHOTT. ClEee
U3 Check if this is an

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

iF tegtee identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on your '

government-issued picture CLE ESTHER

identification (for example, First name First name

your driver's license or

passport). Middle name Middle name

Bring your picture DAVENPORT

identification to your meeting —— Last name Last name

with the trustee.

Suffix (Sr., Jr, Il, I)

Suffix (Sr., Jr, Il, ltt)

2. All other names you CLEESTHER
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names. DAVENPORT
Last name Last name
CLE ESTHER
First name First name
Middle name Middie name
DAVENPORT
Last name Last name
3. Only the last 4 digits of
your Social Security mK — xX — _4 9 _8 2 OK
number or federal OR OR
Individual Taxpayer
Identification number 9 xx - xx - 9 xx — x -

_(ITIN)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 1

Case 17-

CLE'ESTHER

Debtor 1

12576-mkn

DAVENPORT

First Name Middie Name

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

Last Name

About Debtor 1:

| have not used any business names or EINs.

Case number (it known),

Doc 1 Entered 05/16/17 14:21:30 Page 2 of 64

About Debtor 2 (Spouse Only in a Joint Case):

C] [have not used any business names or EINs.

Business name

Business name

Business name

EIN

5228 CARDINAL FLOWER

Number Street

NORTH LAS VEGAS NV___89081

City State ZIP Code

CLARK

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

Number Street

P.O. Box

City State ZIP Code

Check one:

i over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy

Business name

EIN”

EN

If Debtor 2 lives at a different address:

Number Street

City State ZIP Code

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

Number Street

P.O. Box

City State ZIP Code

Check one:

C2) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(1 i have another reason. Explain.
(See 28 U.S.C. § 1408.)

page 2

Debtor 1

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 3 of 64

CLE'ESTHER

DAVEN PORT Case number (known).

First Name Middle Name

Last Name

a Tell the Court About Your Bankruptcy Case

7.

10.

11.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

a Chapter 7

(J Chapter 11
C) Chapter 12
CJ Chapter 13

CJ I will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check

| with a pre-printed address.

| need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

C) | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

Ml No
C] Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM / DD/YYYY
District When Case number
MM/ DD/YYYY
bl No
Cl Yes. Debtor Relationship to you

District When Case number, if known

MM/DD /YYYY

Debtor Relationship to you

District When Case number, if known

MM /DD/YYYY

LI No. Go to line 12.

Wd Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?
A No. Go to line 12.

C) Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 4 of 64

CLE'ESTHER

DAVENPORT Case number (if known)

First Name Middle Name

Last Name

Report About Any Businesses You Own as a Sole Proprietor

12.

13.

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of smail

business debtor, see
11 U.S.C. § 101(51D).

Zi No. Go to Part 4.

CJ Yes. Name and location of business

Name of business, if any

Number Street

City State ZIP Code

Check the appropriate box to describe your business:

LJ Health Care Business (as defined in 11 U.S.C. § 101(27A))
) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
LJ Stockbroker (as defined in 11 U.S.C. § 101(53A))

L] Commodity Broker (as defined in 11 U.S.C. § 101(6))

(J None of the above

if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

LI No. | amnot filing under Chapter 11.

LJ No. | am filing under Chapter 11, but ! am NOT a small business debtor according to the definition in
the Bankruptcy Code.

LJ Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Feary rere if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

A No
UL] Yes. What is the hazard?

If immediate attention is needed, why is it needed?

Where is the property?

Number Street

City State ZIP Code

Voluntary Petition for individuals Filing for Bankruptcy page 4

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 5 of 64

Debtor 1 CLE' ESTH E R DAVE N PO RT Case number (if known),

First Name Middle Name Last Name

eg eosin Your Efforts to Receive a Briefing About Credit Counseling

: i int Case):
4s. Tell the court whether About Debtor 1 About Debtor 2 (Spouse Only in a Joint Case)
you have received a
briefing about credit You must check one: You must check one:
counseling. (J | received a briefing from an approved credit i

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

Wi | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(J | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C) | certify that! asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(J | am not required to receive a briefing about
credit counseling because of:

CJ Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
tational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(J | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Qi certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the :
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is

dissatisfied with your reasons for not receiving a

briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must

still receive a briefing within 30 days after you file.

You must file a certificate from the approved S
agency, along with a copy of the payment plan you :
developed, if any. If you do not do so, your case :
may be dismissed. :
Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

CJ | am not required to receive a briefing about ‘
credit counseling because of: :

(J Incapacity. I have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me
to be unable to participate in a i
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so. :

CJ Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Case 17-12576-mkn

Debtor 1

CLE'ESTHER

Doc 1 Entered 05/16/17 14:21:30 Page 6 of 64

DAVENPORT

Case number (known)

First Name

Middle Name

Last Name

eo Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Sign Below

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LJ No. Go to line 16b.
WA Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

(J No. Go to line 16c.
LJ Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

LJ} No. | am not filing under Chapter 7. Go to line 18.

W Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

LJ $50,001-$100,000
C} $100,001-$500,000

LJ} $500,001-$1 million

(2 $0-$50,000

W $50,001-$100,000
CJ $100,001-$500,000
LJ} $500,001-$1 million

LJ $10,000,001-$50 million
CJ} $50,000,001-$100 million
LJ $100,000,001-$500 million

LJ $1,000,001-$10 million

LJ $10,000,001-$50 million
CJ $50,000,001-$100 million
L) $100,000,001-$500 million

i No
C) Yes
UL) 1-49 LJ 1,000-5,000 LJ 25,001-50,000
W 50-99 LJ 5,001-10,000 LJ 50,001-100,000
LJ 100-199 LJ 10,001-25,000 LJ More than 100,000
Q) 200-999 a. neem .
W $0-$50,000 LJ $1,000,001-$10 million (J $500,000,001-$1 billion

Q) $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion

LJ More than $50 billion

LJ $500,000,001-$1 billion

CJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
C) More than $50 billion

For you

Official Form 101

! have examined this petition, and ! declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and ! did not pay or agree to pay someone who is not an attorney to help me fill out
this document, ! have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519,

3571.

x (To x

Signature of Debtor 1 Signature of Debtor 2
j ”)
Executed on VD IS ZV] T Executed on
MM / DD /YYYY MM / DD /YYYY

Voluntary Petition for Individuals Filing for Bankruptcy page 6

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 7 of 64

Debtor 1 CLE' ESTH ER DAVEN PORT Case number (it known),

First Name Middie Name Last Name

. 1, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility

For your attorney, if you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief

represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

by an attorney, you do not

need to file this page. x
Date
Signature of Attomey for Debtor MM / DD /YYYY
Printed name
Firm name i
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 8 of 64

Debtor 1 CLE'ESTHER DAVEN PORT Case number (if known)

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, iricluding the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and Imprisoned.

If you decide to file without an attomey, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No
Wd Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

LJ No
WA Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

LJ No

i Yes. Name of Person NIKI THOMAS
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x ('TD. x

Signature of Debtor 1 Signature of Debtor 2
Date D. ) l S ZD [ 7 Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone Cell phone
Email address Email address

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 9 of 64

Certificate Number: 12459-NV-CC-029233989

QAQUO O00

12459-NV-CC-029233989

CERTIFICATE OF COUNSELING

I CERTIFY that on May 11, 2017, at 9:16 o'clock AM PDT, Cleesther Davenport
received from Abacus Credit Counseling, an agency approved pursuant to 11
U.S.C. § 111 to provide credit counseling in the District of Nevada, an individual
[or group] briefing that complied with the provisions of 11 U.S.C. §§ 109(h) and
111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: May 11, 2017 By: /s/Amanda Alumbaugh

Name: Amanda Alumbaugh

Title: Credit Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual

the counseling services and a copy of the debt repayment plan, if any, developos through th:
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 10 of 64

aL MUA calrcmtabcoyaent-ece]ame comie(-tal aha ms Cater: ioe

Debtor 1 CLE'ESTHER DAVENPORT
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Nevada

Case number Chapter 7
(tf known)

Official Form 119
Bankruptcy Petition Preparer’s Notice, Declaration, and Signature 412/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. if more than one bankruptcy petition preparer helps with the documents, each must sign in Part 2. A bankruptcy petition preparer who
does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

ao Notice to Debtor

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

B® whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

® whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

= whether your debts will be eliminated or discharged in a case under the Bankruptcy Code,

@ whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;
® what tax consequences may arise because a case is filed under the Bankruptcy Code;

® whether any tax claims may be discharged;

® whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement,

® how to characterize the nature of your interests in property or your debts; or

B® what procedures and rights apply in a bankruptcy case.

The bankruptcy petition preparer NIKi THOMAS has notified me of
Name

any maximum allowable fee before preparing any document for filing or accepting any fee.

2 _ saw OS IS 2017

Signature of Debtor 1 acknowledging receipt ofthis notice" MM/DD /YYYY

Date
Signature of Debtor 2 acknowledging receipt of this notice MM/DD /YYYY

Official Form 119 Bankruptcy Petition Preparer’s Notice, Declaration, and Signature page 1

Case 17-12576-mkn

CLE'ESTHER

First Name Middie Name

DAVENPORT

Last Name

Debtor 1

Ea Declaration and Signature of the Bankruptcy Petition Preparer

Case number (jf known)

Doc 1 Entered 05/16/17 14:21:30 Page 11 of 64

Under penalty of perjury, | declare that:

® | ama bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

® | or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition

Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and

® if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
preparers may charge, | or my firm notified the debtor of the maximum amount before preparing any document for filing or before

accepting any fee from the debtor.

NIKI THOMAS

Printed name Title, if any Firm name, if it applies
7337 REDHEAD DR

Number Street

NORTH LAS VEGAS NV 89084 702-275-9214
City State ZIP Code Contact phone

| or my firm prepared the documents checked below and the completed declaration is made a part of each document that | check:

(Check all that apply.)

i Voluntary Petition (Form 101) Schedule | (Form 1061)

i Statement About Your Social Security Numbers
(Form 121)

i Summary of Your Assets and Liabilities and
Certain Statistical Information (Form 106Sum)

Wi schedule A/B (Form 106//B)
ll Schedule C (Form 106C)
Wf Schedule D (Form 106D)
Wd Schedule E/F (Form 106E/F)
G4 schedule G (Form 106G)
wi Schedule H (Form 106H)

Schedule J (Form 106J)

Declaration About an Individual Debtor's
Schedules (Form 106Dec)

Statement of Financial Affairs (Form 107)

Statement of Intention for Individuals Filing
Under Chapter 7 (Form 108)

Chapter 7 Statement of Your Current
Monthly Income (Form 122A-1)

O 8&8 €@B BABB

Statement of Exemption from Presumption
of Abuse Under § 707(b)(2)
(Form 122A-1Supp)

Q Chapter 7 Means Test Calculation
(Form 122A-2)

)
)

QO
wi
QO
ai
QO

Chapter 11 Statement of Your Current Monthly
Income (Form 122B)

Chapter 13 Statement of Your Current Monthly
Income and Calculation of Commitment Period
(Form 122C-1)

Chapter 13 Calculation of Your Disposable
Income (Form 122C-2)

Application to Pay Filing Fee in Installments
(Form 103A)

Application to Have Chapter 7 Filing Fee
Waived (Form 103B)

A list of names and addresses of all creditors
(creditor or mailing matrix)

Other

Bankruptcy petition preparers must sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the documents
to which this declaration applies, the signature and Sociai Security number of each preparer must be provided. 11 U.S.C. § 110.

Mb, LOW, —

Signature of bankruptcy petition preparer Or officer, principal, responsible
person, of partner

NIKI THOMAS

Printed name

XXX-XX-XXXX

Social Security number of person who signed

Signature of bankruptcy petition preparer or officer, principal, responsible
person, or partner

Printed name

Official Form 119

RODPY-S10Y__

&
Ss Security number of person who signed

Bankruptcy Petition Preparer’s Notice, Declaration, and Signature

MM /DD/YYYY

Date
MM / DD /YYYY

page 2

Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 12 of 64

B2800 (Form 2800) (12/15)

United States Bankruptcy Court
District Of CvgG Ja

Inre C] e! Csther Da ven Port Case No.

Debtor

Chapter 7

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110(h)(2).]

1. Under 11 U.S.C. § 110(h), | declare under penalty of perjury that I am not an attorney or employee of an
attorney, that I prepared or caused to be prepared one or more documents for filing by the above-named
debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the
debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services I have agreed to accept... cesseeeeeserees $ / QE

Prior to the filing of this statement I have received..................cceeee serene $ / aS

Balance Due..........seccecesseceseceececesecceeeeeceeceesesaceeseseecsesesensesescesacseteaeeeaecasessaeeneesseees $ Oo

2. I have prepared or caused to be prepared the following documents (itemize): QJ ol, By, /068q hy, Form Ie tl &

Forms, lee 0, IoUE/F, 1OUG, luehy 1oW, OW lOedEC, Farm |

OT Eu

and provided the following services (itemize): Form | OBA , Cre Orhx Mec: £) Ver'fe Porras Form I99QA_I
COACS 4 Pins, For mS ‘

3. The source of the compensation paid to me was:
Other (specify)

4. The source of compensation to be paid to me is:
Debtor Other (specify)
5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation

of the petition filed by the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with
this bankruptcy case except as listed below:

NAME SOCIAL SECURITY NUMBER

Tol Moros  $Q-2-G10Y Shishi?

Signature Social Security number of bankruptcy Date
a petition preparer* on
POG Thom eS 1257 Bewheend by Uo KL RAS
Printed name and title, if any, of Address

Bankruptcy Petition Preparer

* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 1] and the Federal Rules of
Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
Case 17-12576-mkn

ILM Amani Miencolalirldcolamcomrel- labia mm ’Zelel mer: ciem

United States Bankruptcy Court for the: District of Nevada

Case number
(If known)

Debtor 1 CLE'ESTHER DAVENPORT

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information

Doc 1 Entered 05/16/17 14:21:30 Page 13 of 64

Q) Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your Original forms, you must fill out a new Summary and check the box at the top of this page.

Ea Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B...............-

1b. Copy line 62, Total personal property, from Schedule A/B.....

1c. Copy line 63, Total of all property on Schedule A/B

ra Summarize Your Liabilities

Your assets
Value of what you own

$ 12,000.00
$ 19,420.00
$ 19,420.00

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

Your liabilities
Amount you owe

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ ___ 25,200.00,
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..............2.::ccsecceceereteertees $__
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ............0 cee + 5 55,721.00
Your total liabilities g___ 80,921.00
Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061) 2.704.00
Copy your combined monthly income from line 12 Of Schedule | o............ccccecccceccceccce cece c cece cesses ceeceeaeeeseceseesecsaesesseeceeeeeaeeeeee $___ “eer

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J.......... $ ___ 4,408.00,

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information

page 1 of 2

Case 17-12576-mkn Doci_ Entered 05/16/17 14

Debtor 1 CLE'ESTHER DAVENPORT Case number (known

First Name Middle Name Last Name

Ee answer These Questions for Administrative and Statistical Records

:21:30 Page 14 of 64

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

(J No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

wi Yes

7. What kind of debt do you have?

wi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

() Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official CoO

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
Qd. Student loans. (Copy line 6f.) $ 17,985.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.)
Sf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +¢$ 0.00
9g. Total. Add lines 9a through Sf. $ 17,985.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2

Case 17-12576-mkn

Doc 1 Entered 05/16/17 14:21:30 Page 15 of 64

TT MUAMU ALE MUnLioNaaie: {rela Comlo(-20) Clive KeleLmmer: toate Mal Mil ELAle

pettor1  CLE'ESTHER

DAVENPORT

First Name Middle Name

Debtor 2

Last Name

{Spouse, if filing) First Name Middle Name
United States Bankruptcy Court for the: District of Nevada

Case number

Last Name

QU) Check if this is an

Official Form 106A/B

Schedule A/B: Property

amended filing

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

a Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

W No. Go to Part 2.
CJ Yes. Where is the property?

1.1.

Street address, if available, or other description

City State ZIP Code

County

If you own or have more than one, list here:

1.2.
Street address, if available, or other description

City State ZIP Code

County

Official Form 106A/B

What is the property? Check all that apply.
Single-family home

Q Duplex or multi-unit building

(2 Condominium or cooperative

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

(2 Manufactured or mobile home entire property? portion you own?
(J Land $ $

CJ investment property

() Timeshare Describe the nature of your ownership
© other interest (such as fee simple, tenancy by

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
CJ Debtor 1 only

CJ Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

L) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

What is the property? Check all that apply.
Q) Single-family home

(J Duplex or multi-unit building

CJ Condominium or cooperative

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

CJ Manufactured or mobile home entire property? portion you own?
CJ Land $ $
(J investment property
Describe the nature of your ownership
5 one interest (such as fee simple, tenancy by
er

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
CJ Debtor 1 only

() Debtor 2 only

CJ Debtor 1 and Debtor 2 only

LJ} At least one of the debtors and another

CL) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

Schedule A/B: Property page 1

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 16 of 64

Debtor 1 CLE'ESTHER DAVENPORT Case number (known
First Name Middle Name Last Name
What is the property? Check ail that apply. Do not deduct secured claims or exemptions. Put
13 QO Single-family home the amount of any secured claims on Schedule D:

Creditors Who Have Claims Secured by Property.

Street address, if available, or other description Duplex or multi-unit building

O Condominium or cooperative Current value of the Current value of the

entire pro ? rtion you own?
CJ Manufactured or mobile home property po y
CJ Lana $ $
CJ Investment property
; ; Describe the nature of your ownership
Cc Stat ZIP Cod
ty ° ° 5 Timeshare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
(3 Debtor 1 only
County

LJ Debtor 2 only
(J Debtor 4 and Debtor 2 only
LJ At least one of the debtors and another

UL) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages

you have attached for Part 1. Write that number here. ....................cccceccceeceeeeeeeeeca esse eceeaeseeneseeeeseeeasearaeeeasaeaeees >

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

LI No
fd Yes
3.1. Make: JEEP Who has an interest in the property? Check one. —_ 9 not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: CHEROKEE Wd Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2015 (3 Debtor 2 only

Approximate mileage:

Other information:

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

Official Form 106A/B

CJ Debtor 1 and Debtor 2 only
J At least one of the debtors and another

(J Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
CJ Debtor 1 only

LJ Debtor 2 only

LJ Debtor 4 and Debtor 2 only

(J At least one of the debtors and another

UL] Check if this is community property (see
instructions)

Schedule A/B: Property

Current value of the Current value of the

entire property? portion you own?

$ 12,000.00 ¢ 12,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2
Case 17-12576-mkn

Doc 1 Entered 05/16/17 14:21:30 Page 17 of 64

Who has an interest in the property? Check one.

(CJ At least one of the debtors and another

() Check if this is community property (see

Who has an interest in the property? Check one.

Debtor 1 CLE'ESTHER DAVENPORT
First Name Middle Name
3.3. Make:
Model: CJ Debtor 4 onty
y. C) Debtor 2 only
ear:
ar C} Debtor 1 and Debtor 2 only
Approximate mileage:
Other information:
instructions)
3.4. Make:
Model: CJ Debtor 4 only
L} Debtor 2 only
Year:

Approximate mileage:

Other information:

t

(J Debtor 1 and Debtor 2 only
CJ At least one of the debtors and another

C) Check if this is community property (see
instructions)

Case number (i known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the i
entire property? portion you own? :

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

(J No
() Yes

4.1. Make:
Model:

Year.

Other information:

If you own or have more than one, list here:

42. Make:
Mode!:

Year:

Other information:

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.
() Debtor 1 only

C) Debtor 2 only

(J Debtor 1 and Debtor 2 only

() At least one of the debtors and another

(J Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
(J Debtor 4 onty

() Debtor 2 only

(J Debtor 1 and Debtor 2 only

() At teast one of the debtors and another

() Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

s __ 12,000.00

page 3
Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 18 of 64
Debtor 4 CLE'ESTHER DAVENPORT Case number (inown

First Name Middle Name Last Name

Describe Your Personal and Household Items

Current value of the
portion you own?
Do not deduct secured claims

Do you own or have any legal or equitable interest in any of the following items?

or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
LJ No
W Yes. Describe......... tables, chairs, lamp, furniture, bed $ 470.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
LJ No .
W Yes. Describe.......... tv $ 150.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
4 No
LJ] Yes. Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
W No
LJ Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
J No .
LJ) Yes. Describe.......... $
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
L] No
A Yes. Describe.......... clothing $ 500.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
4 No .
L] Yes. Describe........... $
13. Non-farm animals
Examples: Dogs, cats, birds, horses
bd No :
LJ Yes. Describe........... $ i
14. Any other personal and household items you did not already list, including any heatth aids you did not list
W No
L) Yes. Give specific $
information. ..............
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 1,120.00
for Part 3. Write that number Were oo... occccccccccecccsceecesssecssssessossesessecossssessuscsaseccensscesssscesaseccsanecsusscsesssecnsnseseeaceeeausessiesessstesseies >

Official Form 106A/B Schedule A/B: Property page 4

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 19 of 64

Debtor 1 CLE'ESTHER DAVENPORT Case number (tnown)
First Name Middie Name Last Name
a Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
W No
CV eS aaa cesssesseseneessentneeestessnestsnistsenatiaststnnisstasistetisteessnietetisasvietivinninaiesietseseeiese Cash: ccc. $
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
UJ No
W Yes oe Institution name:
17.1. Checking account: Delta Community Credit Union $ 300.00
17.2. Checking account: $
17.3. Savings account: Delta Community Credit Union $ 1,000.00
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

J No

CD Yes. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

No Name of entity: % of ownership:
C) Yes. Give specific 0% %
information about 0
them... ee 0% %
0% %

Official Form 106A/B Schedule A/B: Property page 5
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 20 of 64
Debtor 4 CLE'ESTHER DAVENPORT Case number (if known).

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

J No

LL) Yes. Give specific |ssuer name:
information about

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

2 No

i Yes. List each
account separately. Type of account: Inston name:

404(k) or similar pian: / ra Aiaqmence 5,000.00

Pension plan:

IRA:

Retirement account:

Keogh:

Additional account:

fF F F F F FH HF

Additional account:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

A No
CD Yes ieee Institution name or individual:

Electric:

Gas:

Heating oil:

Security deposit on rental unit:

Prepaid rent:

Teiephorie:

Water:

Rented furniture:

Other:

FF F FF HF FH HF HF

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
a No

CD Ves occ issuer name and description:

Official Form 106A/B Schedule A/B: Property page 6

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 21 of 64
Debtor 1 CLE'ESTHER DAVENPORT

First Name Middle Name Last Name

Case number (known)

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Wi No

DY eS erence Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

Wi No

CL) Yes. Give specific
information about them... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

WU No

CL) Yes. Give specific
information about them... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

WU No

C3 Yes. Give specific
information about them... $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
WU No

LJ Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. oo.

Federal:

Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Wi No

LI Yes. Give specific information.............

Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
WU No
CL) Yes. Give specific information................ :

Official Form 106A/B Schedule A/B: Property page 7
Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 22 of 64
Debtor 4 CLE'ESTHER DAVENPORT Case number (known)

First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

Wi No

CJ Yes. Name the insurance company

. _" Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

A No

LJ Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

2 No

CJ Yes. Describe each claim. 0.0.0.0...

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

2 No

CJ Yes. Describe each claim. 00.0.0...

35. Any financial assets you did not already list

WA No

C) Yes. Give specific information............

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mumber here oo... occ ceccccccceseseseeevssesevecsneereveensnsesvessreseventesvevssesssinessasssrsussetseusesepeisetignitsanetseneetss > $ 1,300.00

a Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
2 No. Goto Part 6.
Q Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

CQ) No
CL} Yes. Describe.......

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

C) No
CJ Yes. Describe.......

Official Form 106A/B Schedule A/B: Property page 8
Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 23 of 64
Debtor1  CLE'ESTHER DAVENPORT Case number granow

First Name Middle Name Last Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

C) No

C) Yes. Describe....... $
41. Inventory

C) No

Ul] Yes. Describe........ $

42. Interests in partnerships or joint ventures

C) No
Ul] Yes. Describe.......

Name of entity: % of ownership:
% $
% $
% $

43. Customer lists, mailing lists, or other compilations
UL] No
UL] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
UL] No
C) Yes. Describe........

44. Any business-related property you did not already list
Q) No

LI] Yes. Give specific
information .........

PrP? fF 7 oF #

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here occ ccc ccccssssessessescessecessscsoseeessnesssuvesssnvessesensesguecensevesseceesseveesessssstvsseseesssnesseeeesseesss >

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
if you own or have an interest in farmiand, list it in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Gl No. Go to Part 7.
Q) Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured claims

or exemptions.
47. Farm animals
Examples: Livestock, poultry, farm-raised fish
fl No
QD) Yess
$

Official Form 106A/B Schedule A/B: Property page 9
Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 24 of 64
Debtor 1 CLE'ESTHER DAVENPORT Case number (ifknown)

First Name Middle Name Last Name

48. Crops—either growing or harvested

J No

CL) Yes. Give specific
information. ............. $

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

CL) No

51.Any farm- and commercial fishing-related property you did not already list
WZ No

C] Yes. Give specific
information. ............ $

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $

0.00

for Part 6. Write that mumber Were ooo... cece cc cccceccce esse sssesss seve sssesscssecsuvessessresusssuesspseteesipssivasussuesetssitsereesnsvinsesesesnseeesreesessess >

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

J No

C] Yes. Give specific
information. ............

54. Add the dollar value of all of your entries from Part 7. Write that number here

0.00

co List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2

56. Part 2: Total vehicles, line 5 $ 12,000.00

57.Part 3: Total personal and household items, line 15 $ 1,120.00

58. Part 4: Total financial assets, line 36 $ 6,300.00

59. Part 5: Total business-related property, line 45 $ 0.00

60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00

61.Part 7: Total other property not listed, line 54 +3

62. Total personal property. Add lines 56 through 61. 0.00.00... $ 19,420.00 Copy personal property total > #3

0.00

19,420.00

63. Total of all property on Schedule A/B. Add line 55 + lime 62.0.2... eee ccc eece ce eseseeeeeceesaeeseneecneeceecesseneeeseteeenseeeeeeaaes $

19,420.00

Official Form 106A/B Schedule A/B: Property

page 10

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 25 of 64

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bebtor1 - CLE'ESTHER DAVENPORT
First Name Middle Name Last Name

Debtor 2

(Spouse, ff filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Nevada

Case number UL) Check if this is an
(ff known) amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicabie statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

REED tcentity the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

wf You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CJ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the § Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B
Brief NRS 21. 1
description: 1 herok $12,000.00 Og$ 090 (1)(f)
Line from 100% of fair market value, up to
Schedule A/B: 3.1 any applicable statutory limit
Brief
description: Household goods __— $ 470.00 Os NRS 21.090 (1)(b)
Line from g i 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief .
description: Electronics $ 150.00 Os NRS 21.090 (1)(b)
Line from V4 100% of fair market value, up to
Schedule A/B: 7 __ any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

Wf No

CJ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

L} No
Ui Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

Case 17-12576-mkn
CLE'ESTHER

First Name Middle Name

Fy sition Page

Doc 1 Entered 05/16/17 14:21:30 Page 26 of 64

DAVENPORT

Debtor 1 Case number (it known),

Last Name

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Official Form 106C

Current value of the
portion you own

Amount of the exemption you claim

Check only one box for each exemption

C] 100% of fair market value, up to
any applicable statutory limit

C} 100% of fair market value, up to
any applicable statutory limit

C) 100% of fair market value, up to
any applicable statutory limit

C) 100% of fair market value, up to
any applicable statutory limit

C) 100% of fair market value, up to
any applicable statutory limit

CL] 100% of fair market value, up to
any applicable statutory limit

C} 100% of fair market value, up to
any applicable statutory limit

C] 100% of fair market value, up to

C} 100% of fair market value, up to

C} 100% of fair market value, up to

CJ 100% of fair market value, up to

Copy the vaiue from
Schedule A/B
Clothing $ 500.00 Ws 500.00
At
Delta Checking  —«ss § 500.00 Ws 300.00
17.1
DeltaSavings $ 1,000.00 ws 1,000.00
17.3
401K $ 5,000.00 fs; 5,000.00
21
$ L$
$ L$
$ Os
$ Os
—_ any applicable statutory limit
$ L$
—_— any applicable statutory limit
$ L$
— any applicable statutory limit
$ L$
_— any applicable statutory limit
$ L$

C) 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

NRS 21.090 (1)(b)

NRS 21.090 (1)(g)

NRS 21.090 (1)(z)

NRS 21.090 (1)(r)(4)

page 2 of 2.

Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 27 of 64

LL MUAM Gle-Mtahcelaiar-] celemcomlel-1a1 dha me ele] met te

pettor1  CLE'ESTHER DAVENPORT
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Nevada

C be
tinown) U Check if this is an

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
CJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
wf Yes. Fill in all of the information below.

Ea List All Secured Claims
Column A Column B Column C

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately amount of claim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. —_., not deduct the that supports this _ portion
As much as possible, list the claims in alphabetical order according to the creditor's name.

value of collateral. claim if any
Chrysler Capital Describe the property that secures the claim: s__ 25,200.00 ¢ 12,000.00 5 0.00
Creditor’s Name f
PO Box 961275 | 2015 Cheep Cherokee
Number Street i
As of the date you file, the claim is: Check ail that apply.
OQ) Contingent
FT Worth TX 76161 QJ unliquidated
City State ZIP Code O Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
WH Debtor 1 only WW An agreement you made (such as mortgage or secured
CD Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only Q) Statutory lien (such as tax lien, mechanic’s lien)
CJ Atleast one of the debtors and another CQ) Judgment lien from a lawsuit
C) Other (including a right to offset)
Q) Check if this claim relates to a
community debt
___ Date debt was incurred 03/12/0201  Last4 digits of account number 4 5. 4 _3. ee
| 2. Describe the property that secures the claim: $ $ $
Creditors Name |
Number Street
As of the date you file, the claim is: Check all that apply.
Contingent
CJ Untiquidated
City State ZIP Code OQ) bisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CJ Debtor 1 only CJ An agreement you made (such as mortgage or secured
QJ Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only CJ Statutory lier (such as tax lien, mechanic's lien)
CJ Atieast one of the debtors and another CQ) Judgment lien from a lawsuit

C) Other (including a right to offset)

U Check if this claim relates to a
community debt

..Date debt was incurred _______+>—ss ss Last 4 digits of account number = cee ce ve us
Add the dollar value of your entries in Column A on this page. Write that number here: __25.200.00 |

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 28 of 64

Lat Uae Cale-MLabcolmnar-|dtelamcomrel-1an(ia as cele] met: toe

better? CLE'ESTHER DAVENPORT
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Nevada

LJ Check if this is an
rreoen). Per amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. |f more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

eee ist All of Your PRIORITY Unsecured Claims

1. Doany creditors have priority unsecured claims against you?
Wl No. Go to Part 2.
CI Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. tf a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority

amount amount
21
Last 4 digits of accountnumber tsi $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City Stale ZIP Code C2 Contingent
(3 Unliquidated
Who incurred the debt? Check one. Q disputed
(2 Debtor 1 only
(2 Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only (2 Domestic support obligations
At least one of the debtors and another (3 Taxes and certain other debts you owe the government
C) Check if this claim Is fora community debt (3 Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
Q No (2 Other. Specify
22 | Last 4 digits of accountnumber ss sg $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim Is: Check all that apply.
Contingent
City State ZIP Code (2 unliquidated
Who Incurred the debt? Check one. (2 Disputed

(2 Debtor 1 only

(2 Debtor 2 only

(3 Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

U) Check if this claim is for a community debt

Type of PRIORITY unsecured claim:

(3 Domestic support obligations

(3 Taxes and certain other debts you owe the govermment
(3 Claims for death or personal injury while you were

intoxicated
Is the claim subject to offset? (3 other. Specify
U2 No
QQ Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1of__
Debtor 1 CLEESTHERe 17-12576-mkn pQenborentered 05/16/17 14°21.30 Page 29 of 64

First Name Middle Name Last Name

ea All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

L} No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

Es | ACCEPTANCE NOW

Nonpriority Creditors Name

5501 HEADQUARTERS

Number Street
PLANO TX 75024
City State ZIP Code

Who incurred the debt? Check one.

i Debtor 1 only

QJ Debtor 2 only

(J Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

() Check if this claim is for a community debt

Is the ciaim subject to offset?

i No
QO) Yes

f:2 American First CU

Nonpriority Creditors Name

PO Box 9199

Number Street

Ogden UT 84409
City State ZIP Code

Who incurred the debt? Check one.

a Debtor 1 only

C2 Debtor 2 only

C] Debtor 1 and Debtor 2 only

C Atleast one of the debtors and another

C] Check if this ciaim is for a community debt
is the claim subject to offset?

a No
Q Yes

First Premier Bank

Nonpriority Creditors Name

3820 N Louise Ave

Number Street

Sioux Falls SD 57107

City State ZIP Code

Who incurred the debt? Check one.

VW Debtor 1 only

U2 Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(2 Atleast one of the debtors and another

() Check if this ciaim is for a community debt

Is the claim subject to offset?

Wi No
L Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number _3 5 3 0 5 2,805.00

When was the debt incurred? 03/15/0216

As of the date you flie, the claim is: Check all that apply.

Q Contingent
C2 unliquidated
U2 Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C] Debts to pension or profit-sharing plans, and other similar debts

W other. Specify rental agreement

Last 4 digits of account number 2 0 1 5) $ 200.00

When was the debt incurred? _10/28/2015

As of the date you file, the claim is: Check all that apply.

Q Contingent
QQ Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C] Student ioans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing pians, and other similar debts

W other. Specify_line of credit

Last 4 digits of account number 5 7 1 _ 7 755.00
When was the debt Incurred? _08/05/2015 TTT

As of the date you file, the clalm Is: Check all that apply.

Q Contingent
Q) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts

WM other. Specify Credit Card

page/_ of we

Debtor 1

First Name Middle Name Last Name

CLE'ESTaER 17-12576-mkn pROENPORTEred OS/16/17 14:21:30 Page 30 of 64

se number (i known)

Eo Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

44

4.5

Official Form 106E/F

Sun Loan

Nonpriority Creditors Name

1008 E Charleston Blvd

Number Street

Las Vegas NV 89104

City State ZIP Code

Who incurred the debt? Check one.

Y Debtor 1 only

Q) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

CJ Check if this claim is for a community debt
Is the claim subject to offset?

a No
QO) Yes

U.S. Dept of Education

Nonpriority Creditors Name

P.O. Box 7860

Number Street

Madison Wi 53704

City State ZIP Code

Who incurred the debt? Check one.

V Debtor 1 only

QO) Debtor 2 only

C2 Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

Q) Check if this claim is for a community debt
Is the claim subject to offset?

a No
QO) Yes

Ad Astra Recovery

Nonpriority Creditors Name

7330 W 33rd St #118

Number Street

Wichita KS 67205

City State ZIP Code

Who incurred the debt? Check one.

UV Debtor 1 only

QO) Debtor 2 only

() Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

CJ Check if this claim is for a community debt
Is the claim subject to offset?

@ No
C} Yes

Last 4 digits of accountnumber O O 7 7

When was the debt incurred? 09/22/2011

As of the date you file, the claim is: Check all that apply.

C} Contingent
Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO Debts to pension or profit-sharing pians, and other similar debts

@ other. Specify Note Loan

Last 4 digits of accountnumber 0 1 7 9
02/19/2015

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO) Contingent
( Unliquidated
QO) Disputed

Type of NONPRIORITY unsecured claim:

wt Student loans

QO) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QO Debts to pension or profit-sharing plans, and other similar debts

C2 other. Specify

Last 4 digits of account number 3. 4 2 7.
03/09/2012

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

() Contingent
O) Uniiquidated
CJ Disputed

Type of NONPRIORITY unsecured claim:

QO Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts

Wi other. Specify personal loan

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

¢$ _ 900.00

$ 17,985.00

$925.00

pagec® of bo
Debtor 1

First Name Middie Name

Last Name

CLE'ESFAER 17-125 76 aVKNpORGC 1 “Entered 05/16/17 14:21:30 Page 31 of 64

Case number (known)

ea Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

47

48

-
©

Official Form 106E/F

Clark County Collections

Nonpriority Creditors Name

860 W Sunset #100

Number Street

Las Vegas NV

89148

City State

Who incurred the debt? Check one.

“V Debtor 1 only

C) Debtor 2 only

() Debtor 1 and Debtor 2 only

() Atleast one of the debtors and another

() Check if this claim is for a community debt

Is the claim subject to offset?

Wf No
C) ves

IC Systems Collections

ZIP Code

Nonpriority Creditors Name

PO Box 64378

Number Street

Saint Paul MN

55164

City State

Who incurred the debt? Check one.

4 Debtor 1 only

() Debtor 2 only

() Debtor 1 and Debtor 2 only

() At least one of the debtors and another

() Check if this clalm is for a community debt

ls the claim subject to offset?

Wf No
L) ves

Omega RMS

ZIP Code

Nonpriority Creditors Name

7505 Tiffany Springs Pkwy #500

Number Street

Kansas City MO

64153

City State

Who incurred the debt? Check one.

Vi Debtor 1 only

() Debtor 2 only

CJ Debtor 1 and Debtor 2 only

() At least one of the debtors and another

() Check if this claim is for a community debt

ls the claim subject to offset?

wi No
C) Yes

ZIP Code

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number 3 Oo a A
06/22/2016

5 7,805.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q) Contingent
() Unliquidated
) Disputed

Type of NONPRIORITY unsecured claim:

() Student loans

) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J debts to pension or profit-sharing plans, and other similar debts
Other. Specify Lease agreement

Last 4 digits of account number 6 O 4 2 $ 547.00
12/18/2015

When was the debt incurred?

As of the date you file, the claim is: Check alt that apply.

) Contingent
() unliquidated
() Disputed

Type of NONPRIORITY unsecured claim:

(J student loans

) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts

W@ other. Specify_utility collection

5 4,612.00
Last 4 digits of accountnumber 2 1 8 2 ——
11/01/2012

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C) Contingent
() Uniiquidated
) Disputed

Type of NONPRIORITY unsecured claim:

() Student loans

Q) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plaris, and other similar debts

WU other. specity_collection debt

page.) of (o_
Debtor 1

First Name Middle Name

Last Name

CLE'ESHIER 17-1 4AVENBORTDPOC 1 Entered 05/16/17 14:21:30 Page 32 of 64

Case number (if known),

a «-- NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

al
Quantum Collections

4/0 Nonpriority Creditors Name

3080 S Durango Dr #105

Number Street

Las Vegas NV

89117

City State

Who incurred the debt? Check one.

Y Debtor 1 only

C) Debtor 2 only

(J Debtor 1 and Debtor 2 only

() At feast one of the debtors and another

() Cheek if this claim is for a community debt
Is the claim subject to offset?

wf No
QO) Yes

Yel]

4412

Official Form 106E/F

Sentry Recovery & Collection

ZIP Code

Nonpriority Creditors Name

3090 S Durango Rd #100

Number Street

Las Vegas NV

89117

City State

Who Incurred the debt? Check one.

W Debtor 1 only

Q) Debtor 2 only

() Debtor 1 and Debtor 2 only

C) Atteast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

a No
QO) Yes

Loanex

ZIP Code

Nonpriority Creditors Name

5514 Camino Al Norte #A3

Number Street

North Las Vegas NV

89031

City State

Who Incurred the debt? Check one.

UW Debtor 1 only

Q) Debtor 2 only

() Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

C) Check if this claim is for a community debt
Is the claim subject to offset?

a No
Q) Yes

ZIP Code

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of accountnumber 2 8 3 9
07/02/2012

5 11,816.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

(2 Contingent
OQ) unliquidated
Q) Disputed

Type of NONPRIORITY unsecured ciaim:

( Student loans

OQ Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C] Debts to pension or profit-sharing plans, and other similar debts

Wf other. Specify rental agreement

Last 4 digits of accountnumber 4 7 8 6 $ 771.00

12/05/2016

When was the debt Incurred?

As of the date you file, the claim is: Check ali that apply.

(2 Contingent
C2 Unliquidated
() Disputed

Type of NONPRIORITY unsecured ciaim:

C2 Student joans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q) Debts to pension or profit-sharing pians, and other similar debts

A other. specity_ Medical collection

$3,000.00
Last 4 digits of account number 0 0 0 0 —_—_
02/01/2015

When was the debt Incurred?

As of the date you file, the claim is: Check ail that apply.

C2 Contingent
C) Uniiquidated
Q) Disputed

Type of NONPRIORITY unsecured ciaim:

(J Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts
W Other. Specify_ personal loan

page} ofld_
Case 17-12576-mkn

Debtor 1

Doc 1 Entered 05/16/17 14:21:30 Page 33 of 64

First Name Middle Name

Last Name

se number (if known)

a Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

L.13

Official Form 106E/F

Check City

Nonpriority Creditors Name

5861 W Craig Rd #4

Number Street

Las Vegas NV

89130

City State

Who incurred the debt? Check one.

Debtor 1 only

Q) Debtor 2 only

CQ) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

& No
UC) Yes

Dollar Loan

ZIP Code

Nonpriority Creditors Name

2805 W Centennial PKwy

Number Street

North Las Vegas NV

89031

City State

Who incurred the debt? Check one.

VM Debtor 1 only

C2 Debtor 2 only

CJ Debtor 1 and Debtor 2 only

C2) At ieast one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

Wi No
QO) Yes

Cash 1

ZIP Code

Nonpriority Creditors Name

6708 W Cheyenne Ave

Number Street

Las Vegas NV

89108

City State

Who incurred the debt? Check one.

VM Debtor 1 only

C) Debtor 2 only

C2 Debtor 1 and Debtor 2 only

(C) At ieast one of the debtors and another

(J) Check if this claim is for a community debt

Is the claim subject to offset?

Wl No
CQ) Yes

ZIP Code

Last 4 digits of accountnumber 1 3 0 3
03/01/2016

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
CQ unliquidated
U2 Disputed

Type of NONPRIORITY unsecured claim:

(J Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C2 Debts to perision or profit-sharing plans, and other similar debts

& otner. specify_ personal loan

Last 4 digits of accountnumber 9 6 2 0

05/01/2015

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

(2 Contingent
(J Uniiquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

() Debts to pension or profit-sharing plans, and other similar debts

Wf other. Specify_personal loan

Last 4 digits of account number 2 3 0 1.

06/01/2016

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

C2 contingent
OQ) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

(2 Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts
WM other. Specify_ personal loan

Scheduie E/F: Creditors Who Have Unsecured Ciaims

Total claim

s 1,000.00

$_ 1,000.00

~s 1,000.00

J
pageS_ of (0_
Case 17-12576-mkn

Debtor 1

Doc 1 Entered 05/16/17 14:21:30 Page 34 of 64
Case num )

First Name Middle Name

Last Name

f (if known)

a Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

4.1

Official Form 106E/F

Money Tree

Nonpriority Creditors Name

4210 W Craig Rd

Number Street

89032

North Las Vegas NV
City State

Who incurred the debt? Check one.

VU Debtor 1 only

U3 Debtor 2 only

(3 Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

U3 Check if this claim is for a community debt
Is the claim subject to offset?

wf No
U3 Yes

ZIP Code

Nonpriority Creditors Name

Number Street

City State

Who incurred the debt? Check one.

U3 Debtor 1 only

U3 Debtor 2 only

(3 Debtor 1 and Debtor 2 only

CY At least one of the debtors and another

U3 Check if this claim is for a community debt

Is the claim subject to offset?

CL) No
U Yes

ZIP Code

Nonpriority Creditors Name

Number Street

City State

Who incurred the debt? Check one.

(3 Debtor 1 only

U3 Debtor 2 only

(3 Debtor 1 and Debtor 2 only

(CY At least one of the debtors and another

L) Check if this claim is for a community debt

Is the claim subject to offset?

CL) No
U Yes

ZIP Code

Schedule E/F: Creditors Who Have Unsecured Claims

‘Total claim

Last 4 digits of accountnumber O 5 3 1.

06/15/2016

5 1,000.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent
(3 Unliquidated
U3 Disputed

Type of NONPRIORITY unsecured claim:

U student loans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

U3 Debts to Pension or profit-sharing plans, and other similar debts

W@ other. Specity_personal loan

Last 4 digits of account number

— $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent
O Unliquidated
U Disputed

Type of NONPRIORITY unsecured claim:

CJ Student toans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

OU Debts to pension or profit-sharing plans, and other similar debts
U3 Other. Specify.

Last 4 digits of account number _

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

(3 Contingent
3 Unliquidated
U3 Disputed

Type of NONPRIORITY unsecured claim:

(3 Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

UY Debts to pension or profit-sharing plans, and other similar debts
UY Other. Specify.

pagel) ofl
Debtor cLe'eS Hike 17-1 BAVENP ORT Doc 1 Entered 05/16/17 14:21:30 Page 35 of 64

S@ NUMDET (it known)
First Name Middle Name Last Name

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts In Parts 1 or 2, do not fill out or submit this page.

Landbank Realty On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1404 S Maryland Pkwy Line 4.7 of (Check one): U) Part 1: Creditors with Priority Unsecured Claims
Number Street W Part 2: Creditors with Nonpriority Unsecured Claims
t 4 digits of 3.05 1
Las Vegas NV 89104 Last 4 digits of accountnumber_Y VY oY of
City State ZIP Code
Cox Communications On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1700 Vegas Dr Line 4.8 of (Check one): U1 Part 1: Creditors with Priority Unsecured Claims
Number Street W Part 2: Creditors with Nonpriority Unsecured
Claims
Las Vegas NV 89106 Last 4 digits of account number 6 0 4 2
City State ZIP Code
Just Dreams LLC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2130 NE 121st St Line 4.9 of (Check one): 1) Part 1: Creditors with Priority Unsecured Claims
Number Street ( Part 2: Creditors with Nonpriority Unsecured
Claims
North Miami FL 33181 Last 4 digits of account number 2 1 8 2
City State ZIP Code
Shelter Realty On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2470 W Horizon Ridge Pkwy #120 Line 4.10 of (Check one): U) Part 1: Creditors with Priority Unsecured Claims
Number Street (Wf Part 2: Creditors with Nonpriority Unsecured
Claims
Henderson NV___ 89052 Last 4 digits of account number_2 8 3 9
City State ZIP Code
Desert Orthopaedic On which entry in Part 1 or Part 2 did you list the original creditor?
Name
8402 W Centennial Pkwy Line 4.11 of (Check one): L) Part 1: Creditors with Priority Unsecured Claims
Number Street Mf Part 2: Creditors with Nonpriority Unsecured
Claims
Las Vegas NV 89149 Last 4 digits of account number 4 - 8 6
MY State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street (J Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _
City _ State ZIP Code a
5 On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street . . oe
U) Part 2: Creditors with Nonpriority Unsecured
Claims
City State ZIP Code Last 4 digits of account number

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page| ofl _
debtor? CLE'ES FHS 17-1 SQVENPORT

a Add the Amounts for Each Type of Unsecured Claim

First Name Middle Name Last Name

Doc 1 Entered 05/16/17 14:21:30 Page 36 of 64

Case number (i known),

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6a. Domestic support obligations

6d.

6e.

6h.

6i.

. Taxes and Certain other debts you owe the

government

. Claims for death or personal injury while you were

intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

6j.

Total claim
$ 0.00
$ 0.00
5 0.00
+5 0.00
5 0.00
Total claim
$ 17,985.00
$ 0.00
5 0.00
+5 37,736.00
$ 55,721.00

Schedule E/F: Creditors Who Have Unsecured Claims

page of_
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 37 of 64

aI Em CaM aliolauarclerelamcomtel-Taldii me kell lmer: ioe
CLE'ESTHER

Debtor DAVENPORT
First Name Middle Name Last Name

Debtor 2

(Spouse if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Nevada

C be
(reo) LJ Check if this is an

amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Wi No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
QD Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
2.1

Name

Number Street

City State ZIP Code
2.2

Name

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of tI

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Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 38 of 64

LUA COTE Mal coldear-¢colamcomrel-1al Shiva Zole] aor: XoR

Debtor 4 CLE'ESTHER DAVENPORT

First Name Middie Name Last Name
Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: District of Nevada

Case number
(if known)

CJ Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

u No
L] Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

LI} No. Go to line 3.
wi Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

L] No

a Yes. In which community state or territory did you live NV . Fill in the name and current address of that person.

Name of your spouse, former spouse, or legal equivalent

unknown
Number Street

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
U) Schedule D, line
Name ———
2 Schedule E/F, line
Number Street U) Schedule G, line
City State ZIP Code
3.2
CU) Schedule D, line
Name —_
U Schedule E/F, line
Number Street U) Schedule G, line
City State ZIP Code
3.3
C) Schedule D, tine
Name —_—_—_
U) Schedule E/F, tine
Number Street U) Schedule G, line
City State ZIP Code

Official Form 106H Schedule H: Your Codebtors page 1 of
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 39 of 64

ALLER URL-Mlecelainr- Mela mere l-ral lame cele Metts

bebtor1  CLE'ESTHER DAVENPORT

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Nevada

Case number Check if this is:
(tf known) .
LJ An amended filing

LJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 nea DDTYYY¥Y
Schedule I: Your Income 12145

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

GEEREE Descrive Employment

1. Fill in your employment
information. Debtor 1 Debtor 2 or non-filing spouse

If you have more than one job,

attach a separate page with
information about additional Employment status a Employed C) Employed
employers. C) Not employed C) Not employed
Include part-time, seasonal, or
self-employed work. :

poy Occupation Call Center Supervisor
Occupation may include student
or homemaker, if it applies.

Employer's name Logisticare

Employer's address 3280 N Cimarron #107

Number Street Number Street

Las Vegas NV 89129

City State ZIP Code City State ZIP Code
How long employed there? 3 yrs 3 yrs

aE ve Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $2,755.00 $
3. Estimate and list monthly overtime pay. 3. +g 735.00 +¢$
4. Calculate gross income. Add line 2 + line 3. 4. $__ 3,490.00 $

Official Form 1061 Schedule I: Your Income page 1
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 40 of 64

Debtor 4 CLE'ESTHER DAVENPORT Case number (known
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy Hine 4 here... cece cece ce sseneseecasenecenseeneeeesneneeeeceneeteeenenantecees > 4. ¢__ 3,490.00 $

5. List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions 5a. § 438.00 $
5b. Mandatory contributions for retirement plans 5b. §$ Q.00 $
5c. Voluntary contributions for retirement plans 5c. § 40.00 $
5d. Required repayments of retirement fund loans 5d. §$ 0.00 $
5e. Insurance 5e. $ 308.00 $
5f. Domestic support obligations 5f. $ 0.00 $
5g. Union dues 5g. § 0.00 $
5h. Other deductions. Specify: Sh. +$ 0.00 +4
6. Add the payroll deductions. Add lines 5a + 5b + 5c+5d+S5e+5f+5g+5h. 6 § 786.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. ¢__ 2,704.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,

profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $ 0.00 $

monthly net income. 8a. ——e—
8b. Interest and dividends 8b. § 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $

settlement, and property settlement. 8c. ————————
8d. Unemployment compensation sd. $____0.00° $
8e. Social Security Be. § 0.00 $
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental!

Nutrition Assistance Program) or housing subsidies.

Specify: af $0.00 $
8g. Pension or retirement income 89. § 0.00 $
8h. Other monthly income. Specify: 8h. +$ 0.00 + $

9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. | $ 0.00 $.
10. Calculate monthly income. Add line 7 + line 9. $ 2,704.00 | + $ = \s 2,704.00
Add the entries in tine 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. ————_———-

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 1.4 $ 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2 704.00

Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. S$ fea
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

CJ No.
\f Yes. Explain: [Overtime pay is not guaranteed

Official Form 1061 Schedule I: Your Income page 2
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 41 of 64

SU MOM Asma) covaser-seke]am come (cial tia’ as kell] mrer-tc1- 8

' R
Debior1  CLE'ESTHER care —DAVENPORT Check if this is:
Debtor 2 i
(Spouse if filing) First Name Middle Name Last Name Q An amended filing

UA supplement showing postpetition chapter 13

United States Bankruptcy Court for the: District of Nevada expenses as of the following date:

Case number
(i ) MM / DD/ YYYY

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ara Describe Your Household

1. Is this a joint case?

Wf No. Goto line 2.
LJ Yes. Does Debtor 2 live in a separate household?

UL] No
LJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? O) No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and wf Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent...................... Q
N
Do not state the dependents’ Daughter 21 wl °
names. Yes
Son 12 No
Yes
Son 22 UL) No
wi Yes
C) No
UO) Yes
UL) No
UL Yes
3. Do your expenses include w No
expenses of people other than

yourself and your dependents? 4! Yes

re Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill In the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 106l.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and 4.600.00
any rent for the ground or lot. 4, $ : -

If not included in line 4:

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowners, or renter’s insurance 4b. = $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
Case 17-12576-mkn Doci1 Entered 05/16/17 14:21:30 Page 42 of 64

Debtor 1 CLE'ESTHER DAVENPORT

First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

16.

17.

18.

19.

20.

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services

Medical and dental expenses

. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments.
Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

17d. Other. Specify:

Case number (i known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

15a.
15b.
15c.

15d.

16.

17a.

17b.

17c.

17d.

18.

19.

20a.
20b.
20c.
20d.

20e.

Your expenses

$

0.00

150.00

100.00

200.00

0.00

300.00

0.00

100.00

100.00

fF Ff Ff Ff Ff FH HF H

200.00

200.00

200.00

200.00

0.00

0.00

145.00

wf Ff FF &F

0.00

0.00

663.00

0.00

0.00

fw Ff GF

0.00

0.00

0.00

0.00

0.00

0.00

250.00

fF Ff fF

0.00

page 2

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 43 of 64

Debtor 1 CLE'ESTHER DAVENPORT Case number (f known)
First Name Middle Name Last Name
21. Other. Specify: 21. +$ 0.00

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. 4,408.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b.  § 0.00 .
22c. Add line 22a and 22b. The result is your monthly expenses. 22. 5 § 4,408.00

23. Caiculate your monthly net income.

. . . $ 2,704.00
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a.
23b. Copy your monthly expenses from line 22c above. 23b. —¢ 4,408.00
23c. Subtract your monthly expenses from your monthly income. -1.704.00
The result is your monthly net income. 23¢. s. ——

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

A No.

QC) Yes. — Explain here:

Official Form 106J Schedule J: Your Expenses page 3
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 44 of 64

almtamealicmtalioleaer-1¢ce)am Comel-1e)shavme Ze lular: 11s

Debtor 4 CLE'ESTHER DAVENPORT

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name tast Name

United States Bankruptcy Court for the: District of Nevada

Case number
(If known)

L) Check if this is an

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 425

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

C} No
W Yes. Name of person NIKI THOMAS . Attach Bankruptcy Petition Preparer's Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

Otte,

Signature of Debtor 1 Signature of Debtor 2
Date 05 | S20 l 7 Date
MM/ DD / YYYY MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual! Debtor’s Schedules
Case 17-12576-mkn

Sai Om GntecMleicoyanar-}atelemcon (o(-1andi ame cele latex: ioe

United States Bankruptcy Court for the: District of Nevada

Case number

bebtor1  CLE'ESTHER DAVENPORT

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

(if known)

Official Form 107

Doc 1 Entered 05/16/17 14:21:30 Page 45 of 64

CJ Check if this is an
amended filing

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.
a Give Details About Your Marital Status and Where You Lived Before
1. What is your current marital status?
wv Married
CJ Not married
2. Duririg the last 3 years, have you lived anywhere other than where you live now?
wf No
L) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
LJ same as Debtor 1 C} Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
C} same as Debtor 1 LL} Same as Debtor 1
From From
Number Street Number Street
To To

City State ZIP Code

City

State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
States and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C) No

wf Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ee Explain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
Case 17-12576-mkn

pebtor1  CLE'ESTHER

DAVENPORT

First Name Middle Name

Last Name

Case number (if known),

Doc 1 Entered 05/16/17 14:21:30 Page 46 of 64

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

C2 No
bd Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2016 )
YYYY

For the calendar year before that:
(January 1 to December 31,2015 )
YYYY

Debtor 1

Sources of income
Check all that apply.

i Wages, commissions,
bonuses, tips

Q Operating a business

i Wages, commissions,
bonuses, tips

) Operating a business

wf Wages, commissions,
bonuses, tips

Q Operating a business

Gross income

(before deductions and
exclusions)

¢ 14,960.00

¢ __ 28,517.00

$24,522.00

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

QQ Wages, commissions,
bonuses, tips

Q) Operating a business

Q Wages, commissions,
bonuses, tips

) Operating a business

Q Wages, commissions,
bonuses, tips

Q) Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Wi No

CJ Yes. Fill in the details.

Debtor 1

Sources of income
Describe below.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

Gross income from
each source

(before deductions and
exclusions)

Debtor 2

Sources of income
Describe below.

(January 1 to December 31,2016 _)
YYYY

Gross income

(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions)

For the calendar year before that:

(January 1 to December 31,2015 _)
YY

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 2

Case 17-12576-mkn

Debtor 1 CLE'ESTHER

DAVENPORT Case number (known)

Doc 1 Entered 05/16/17 14:21:30 Page 47 of 64

First Name

Middle Name

Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

CJ] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

UL) No. Go to line 7.

UL Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

a Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

UI No. Go to line 7.

wi Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attomey for this bankruptcy case.

Official Form 107

Dates of Total amount pald Amount you still owe
payment

Chrysler Capital 04/01/2017 g 662.00 ¢ 25,200.00

Creditors Name

P.O. Box 961245

Number

Street

Fort Worth, TX 76161

City

State ZIP Code

Creditors Name

Number

Street

City

State ZIP Code

Creditors Name

Number

Street

City

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Was this payment for...

CQ) Mortgage

wi Car

OQ) credit cara

CJ Loan repayment

Q] Suppliers or vendors
CI other

U Mortgage

Q car

C credit card

C) Loan repayment
CQ) Suppliers or vendors

U) other

U Mortgage

CI) car

CQ credit card

C) Lean repayment

CQ) Suppliers or vendors

CQ) Other

page 3
Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 48 of 64

Debtor1  CLE'ESTHER DAVENPORT

Case number (ff known)

First Name Middle Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,

such as child support and alimony.

Wi No

C) Yes. List all payments to an insider.

Dates of
payment

Amount you still

Insider's Name

Number Street

City State ZIP Code

insider's Name

Number Street

City State ZIP Code

Reason for this payment

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?
Include payments on debts guaranteed or cosigned by an insider.

wi No
C) Yes. List all payments that benefited an insider.

Dates of
payment

Insider's Name

Amount you still

Number Street

City State ZIP Code

Insider's Name

Number Street

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

Reason for this payment
Include creditor's name

page 4
Case 17-12576-mkn Doci1 Entered 05/16/17 14:21:30 Page 49 of 64

Debtor 4 CLE'ESTHER DAVENPORT Case number (rknown

First Name Middle Name Last Name

Ea identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

U No
WM Yes. Fill in the details.

Nature of the case Court or agency Status of the case
Civil - {).
case title Cl ercic Gourty Colkeaons Hen <rSow Cour r 2] Pending
é i 0 Q) on appeal
ork ' Water Sk
4d £. a Concluded

Case number 16C017165 Hende ran KV R90) IS
City

State ZIP Code

Case title. Court Name Q) Pending
L on appeal
Number Street Q) Concluded
Case number
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

LJ No. Go to line 11.
Wi Yes. Fill in the information below.

Describe the property Date Value of the property

Furniture

AArons Furniture S/ / bowers is OO

Creditors Name

Number Street Explain what happened

(J Property was repossessed.
LJ Property was foreclosed.

LL] Property was garnished.

City State ZIP Code L] Property was attached, seized, or levied.

Describe the property Date Value of the property

Creditor’s Name

Number Street
Explain what happened

Property was repossessed.

Property was foreclosed.

Property was garnished.

Property was attached, seized, or levied.

City State ZIP Code

OOOO

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 50 of 64

Debtor 1 CLE'ESTHER DAVENPORT Case number Grknown

First Name Middie Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

WZ No

(3 Yes. Fill in the details.

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

i No
) Yes

i List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wf No

L) Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
_ $
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
. $
Person to Whom You Gave the Gift
$

Number Street

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 51 of 64

Debtor1 CLE'ESTHER DAVENPORT

Case number (known)
First Name Middle Name Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
a No

LJ Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
- _ $
Charity’s Name
$

Number Street

City State ZIP Code

Co List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

LJ Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss

Date of your Value of property
how the loss occurred oo oo loss lost
include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property.
$

Ea List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Inctude any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

C] No
W@ Yes. Fill in the details.

. Description and value of any property transferred Date payment or Amount of payment
Niki Thomas transfer was

Person Who Was Paid made

7337 Redhead Dr cash

Number Street 5/10/2017 g_125.00

_—__— $

N Las Vegas NV 89084

City State ZIP Code

nnika.thomas@gmail.com

Email or website address

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 52 of 64

Debtor 41 CLE'ESTH ER DAVENPORT Case number (if known)
Fast Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Wf No

UO) Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street -=e—— $
$

City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

w No
C2 Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

Person Who Received Transfer

Number Street

City State ZIP Code

Person’s relationship to you

Person Who Received Transfer

Number Street

City State ZIP Code

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 53 of 64

Debtor1 CLE'ESTHER DAVENPORT Case number ¢rknown

First Name Middle Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

Wf No

LI Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

izes List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Wf No

CJ Yes. Fill in the details.

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, _ closing or transfer
or transferred
Name of Financial Instituti
_—e XXXX- OQ) checking $
Number Street Q Savings

QO Money market

QO Brokerage

City State ZIP Code QO Other

XXXX—_ O) checking $

Name of Financial institution

QO Savings

Number Street QO Money market
L) Brokerage
C2 other.

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
Wf No
C) Yes. Fill in the details.

Who else had access to it? Describe the contents Do you still
have it?
C) No
Name of Financial Institution Name C) Yes
Number Street Number Street
City State ZIP Code

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 54 of 64

Debtor 1 CLE'ESTHER DAVENPORT Case number ¢rinown

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
(} Yes. Fill in the details.

Who else has or had access to it? Describe the contents Do you still
have it?
LI No
Name of Storage Facility Name Q Yes
Number Street Number Street

City State ZIP Code

City State ZIP Code

identify Property You Hold or Control for Someone Else

: 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
No
() Yes. Fill in the details.

Where is the property? Describe the property Value

Owner's Name $

Number Street

City State ZIP Code

City State ZIP Code

Give Detalls About Environmental information

For the purpose of Part 10, the following definitions apply:

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

2 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

WZ No

(2 Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

City State ZIP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 55 of 64

Debtor1  CLE'ESTHER DAVENPORT Case number ¢rinown)

First Name Middie Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

W No

(2 Yes. Fill in the details.

Governmental unit Environmental taw, If you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

O Yes. Fill in the details.

Court or agency Nature of the case Status of the
case
Case title
Court Name QO Pending
Ql on appeal
Number Street 0 concluded
Case number City State ZIP Code

ue Give Detalis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
QO) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
(2 A member of a limited liability company (LLC) or limited liability partnership (LLP)
C) A partner in a partnership
C) An officer, director, or managing executive of a corporation

(2 An owner of at least 5% of the voting or equity securities of a corporation

af No. None of the above applies. Go to Part 12.
(2 Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
Do not include Social Security number or ITIN.

EIN;
Number Street
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code
Describe the nature of the business Employer Identification number

Do not include Soclat Security number or ITIN.

Business Name

EIN:
Number Street
Name of accountant or bookkeeper Dates business existed
From To

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 56 of 64

Debtor1  CLE'ESTHER DAVENPORT Case number (known

First Name Middie Name Last Name

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

Business Name

EIN;
Number Street Name of accountant or bookkeeper Dates business existed
From To

City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

C) No
C) Yes. Fill in the details below.

Date issued

Name MM/DD/YYYY

Number Street

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

eC Te tbe x

Signature of Debtor 1 Signature of Debtor 2

Date | D / 7 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

wf No
C) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
CJ No

Wd Yes. Name of person Niki Thomas . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
Case 17-12576-mkn

aL mlam dal Miacelaaircleelem comiel Talia me ele Met clon

Debtor 1 CLE'ESTHER DAVENPORT
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Nevada

Case number
(If known)

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

Doc 1 Entered 05/16/17 14:21:30 Page 57 of 64

(2 Check if this is an

amended filing

12/15

If you are an individual filing under chapter 7, you must fill out this form if:

® creditors have claims secured by your property, or
@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

eee ust Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.

identify the creditor and the property that is collateral

Creditor’s
name:

Chrysler Capital

Description of 2915 Jeep Cherokee
property
securing debt:

Creditor’s
name:

Description of

property
securing debt:

Creditor’s
name:

Description of

property
securing debt:

Creditor’s
name:

Description of

property
securing debt:

Official Form 108

What do you intend to do with the property that

secures a debt?

Wd surrender the property.
) Retain the property and redeem it.

} Retain the property and enter into a
Reaffirmation Agreement.

CJ Retain the property and [explain]:

} Surrender the property.
) Retain the property and redeem it.

} Retain the property and enter into a
Reaffirmation Agreement.

} Retain the property and [explain]:

(} Surrender the property.
L) Retain the property and redeem it.

L} Retain the property and enter into a
Reaffirmation Agreement.

} Retain the property and [explain]:

CJ Surrender the property.
CJ Retain the property and redeem it.

(} Retain the property and enter into a
Reaffirmation Agreement.

LJ Retain the property and [explain]:

Statement of Intention for Individuals Filing Under Chapter 7

Did you claim the property
as exempt on Schedule C?

LL) No
wf Yes

L) No
C) Yes

L} No
L) Yes

LL} No
L} Yes

page 1
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 58 of 64

Debtor 4 CLE'ESTHER DAVENPORT Case number (if known)

First Name Middle Name Last Name

ra List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: CI No
Q)

Description of leased Yes

property:

Lessor’s name: LJ No

Y

Description of leased O) Yes

property:

Lessor's name: LI No

Description of leased UJ Yes

property:

Lessor’s name: CI No
UC) Yes

Description of leased

property:

Lessor’s name: CI No
UJ Yes

Description of leased

property:

Lessor’s name: CO No

_ CJ Yes

Description of leased

property:

Lessor’s name: OINo
UJ Yes

Description of leased
property:

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any

personal property that is subject to an unexpired lease.
x) jo x

Signature of Debtor 1 Signature of Debtor 2
patel) = [|S [2017 Date
MM/ DD / YYYY MM/ DD/ YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 59 of 64

LMU CALM alice l guar: (itera comcel-tal4] hmm Zel0 [a or- 1-1-5

101 aT -Tol mroyal-m okey aolalhar-(-melfc-2e1 (re Lam OAM COlasame-Lale La)

£
i

estes Cu bclele) 3

Debtor 1 CLE'ESTHER DAVENPORT
First Name Middle Name Last Name . .

wf 1. There is no presumption of abuse.
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name (CJ 2. The calculation to determine if a presumption of

oo abuse applies will be made under Chapter 7

United States Bankruptcy Court for the: District of Nevada Means Test Calculation (Official Form 122A-2).
Case number (C) 3. The Means Test does not apply now because of
(If known) qualified military service but it could apply later.

LJ Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 412115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. !f more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarity consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

aa Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
C) Not married. Fill out Column A, lines 2-11.
Q) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

wa Married and your spouse is NOT filing with you. You and your spouse are:
C) Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

a Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions

(before all payroll deductions). $__ 3,490.00 $
3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00
Column B is filled in. $ : $

4. Allamounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parerits,

and roommates. Include regular contributions from a spouse only if Column B is not 3.490.00

filled in. Do not include payments you listed on line 3. $_Y, : $
5. Net income from operating a business, profession, Debtor 4 Debtor 2

or farm

Gross receipts (before all deductions) $$

Ordinary and necessary operating expenses —$ -$

Net monthly income from a business, profession, or farm g¢ 0.00 ¢ roPy $ 0.00 $
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $ $

Ordinary and necessary operating expenses -$ -$

Net monthly income from rental or other real property g 0.00 ¢ pop $ 0.00 $

7. interest, dividends, and royalties $ 0.00

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1
Debtor 1 CLE'ESTHER DAVENPORT Case number it snown:
First Name Nhddie Nata vast Narre
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $

9

Case 17-12576-mkn Doc1 Entered 05/16/17 14:21:30 Page 60 of 64

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: 00.00

$
For your spouse............. $
Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0.00 S

: 10. Income from all other sources not listed above. Specify the source and amount.

$ 0.00
$ 0.00
Total amounts from separate pages. if any +¢ 0.00 +5
11. Caiculate your total current monthly income. Add lines 2 through 10 for each : + i
column. Then add the total for Column A to the total for Column B. ¢ 3,490.00: $ “ts 3,490.00
Total current
monthly income
ea Determine Whether the Means Test Applies to You
12. Caiculate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income from lime 14... cee cece cceses cecteeesenecscatvuenerestetavancasssseesenniee Copy line 11 here> $_ 3,490.00
Multiply by 12 (the number of months in a year). x 12
12p. The result is your annual income for this part of the form. 12b $41,880.00
13. Caiculate the median family income that applies to you. Follow these steps:
Fill in the state in which you live. NV
Fill in the number of people in your household 4
Fill in the median family income for your state and size of household... ee eet ie eenee ceiesstteseesitsetseressviteeess 13. $ 72,918.00
To find a list of applicable median income amounts, go online using the link specified in the separate
, instructions for this form. This list may also be available at the bankruptcy clerk’s office.
14. How do the lines compare?

Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or intermational or domestic
terrorism. If necessary. list other sources on a separate page and put the total below.

14a. WB Line 12b is tess than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Goto Part 3.

14b. Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.

Go to Part 3 and fill out Form 122A-2.

x C Ye le ee ———— x

Signature of Debtor 1 —~ Signature of Debtor z
ny . yr
Date D5 l Uv? L/ 7 Date
MM/ DD /YYYY MM/ DD LYYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.
if you checked line 146, fill out Form 122A~2 and file it with this form.

eT AOD Molin. 7 Dintisicat cf Your Current Monthly Income

~ S wep e

page 2

Case 17-12576-mkn Doc1_ Entered 05/16/17 14:21:30 Page 61 of 64
NVB 1007-1 (Rev. 12/15)

1 || Name, Address, Telephone No., Bar Number, Fax No. & E-mail address

2

3

4 UNITED STATES BANKRUPTCY COURT

5 DISTRICT OF NEVADA

6

7 || In re: (Name of Debtor) BK-

3 DAVENPORT, CLE'ESTHER Chapter: 7

? VERIFICATION OF CREDITOR MATRIX

Debtor(s)

10
11
2 The above named Debtor hereby verifies that the attached list of creditors is true and correct to
3 to the best of his/her knowledge.
14

> Date 05, 2. D | Signatur!
16
17
18

Date Signature

19
20
21
22
23
24
25
26
27
28 1

Case 17-12576-mkn

Quantum Collections
3080 S Durango Dr #105
NV 89117

Doc 1

Las Vegas,

Sentry Recovery & Collection
3090 S Durango Rd #100
Las Vegas, NV 89117

Landbank Realty
1404 S Maryland PKwy
Las Vegas, NV 89104

Cox Communications
1700 Vegas Dr

Las Vegas, NV 89106

Just Dreams LLC
2130 NE 121st St
North Miami, FL 33181

Shelter Realty
2470 W Horizon Ridge Pkwy #120
Henderson, NV 89052

Desert Orthopaedic
8402 W Centennial Pkwy
Las Vegas, NV 89149

Chrysler Capital
P.O. Box 961275

Ft Worth, TX 76161

Entered 05/16/17 14:21:30 Page 62 of 64
Case 17-12576-mkn

Acceptance Now
5501 Headquarters
Plano, TX 75024

Doc 1

American First CU
P.O. Box 9199
Ogden, UT 84409

First Premier Bank
3820 N Louise Ave

Sioux Falls, SD 57107

Sun Loan
1085 E Charleston Blvd

Las Vegas, NV 89104

U.S. Dept of Education
P.O. Box 7860

Madison, WI 53704

Ad Astra Recovery
7330 W 33rd St #118
Wichita, KS 67205

Clark County Collections
860 W Sunset #100
Las Vegas, NV 89148

Ic Systems Collections
P.O. Box 64378

Saint Paul, MN 55164

Omega RMS
7505 Tiffany Springs Pkwy #500
Kansas City, MO 64153

Entered 05/16/17 14:21:30 Page 63 of 64
Case 17-12576-mkn Doc1

Loanex
5514 Camino Al Norte #A3

North Las Vegas, NV 89031
Check City

5861 W Craig Rd #4

Las Vegas, NV 89130

Money Tree

4210 W Craig Rd

North Las Vegas, NV 89032

Dollar Loan
2805 W Centennial Pkwy
North Las Vegas, NV 89031

Cash 1
6708 W Cheyenne Ave

Las Vegas, NV 89108

Entered 05/16/17 14:21:30 Page 64 of 64
